
This was an application for a Writ of Error to a Judgment of the Superior Court of Law for Patrick County, by which the petitioner was sentenced to be confined in the Jail of that County for,the term of two months, there to be kept on low and coarse diet, and at the expiration of his term, to receive fifteen stripes; the prisoner having been convicted of petit larceny.
The application was over-ruled. A statement of the case is to be found in the following opinion of the Court, which was delivered by JUDGE EIELD.
The petitioner was indicted and tried before the Superior Court of Law for Patrick County, for the larceny of certain goods, which were charged in the indictment to be over the value of ten dollars. The Jury found a verdict in these words: “We, the Jury, find the prisoner, Rich'd Poindexter, guilty of petty larceny.” The prisoner moved in arrest of Judgment, and filed the following assignment of errors.
“1. Because he says that the verdict of the Jury is not rendered against the prisoner, but against Rich’d Poindexter.
“2. Because the Indictment charges an offence, which, by the Laws of the land, amounts to grand larceny.
“3. Because the Jury, by their verdict, have not ascertained what goods were stolen, nor the value of the goods stolen, so as to enable the Court to ascertain whether the offence be grand or petit iar-ceny.
“4. Because the Jury have not ascertained whether the goods be forthcoming, or not.
*“5. Because the verdict does not show what articles are not forthcoming, nor the value, so as to show the Court for whar a restitution might be awarded.”
The Superior Court over-ruled the prisoner’s motion to arrest the Judgment, and sentenced him to imprisonment in the County Jail for the term of two Calendar months, and at the expiration of his term, to receive fifteen lashes.
This Court is of opinion, that the matters alleged in arrest of Judgment, are insufficient for that purpose, and that the Superior Court of Law properly over-ruled the motion. The Writ of Error is, therefore, overruled.
